    Case 1:07-cv-01223-LG-RHW               Document 165     Filed 09/17/09      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

ONLY AL-KHIDHR                                                                     PLAINTIFF

VERSUS                                               CAUSE NO.: 1:07-CV-01223-LG-RHW

HARRISON COUNTY, MISSISSIPPI, by and through its
Board of Supervisor; HARRISON COUNTY SHERIFF,
George Payne, in his official capacity; SUPERVISOR
OF BOOKING, CAPTAIN RICK GASTON, acting
under of state law; CORRECTIONS OFFICER
SERGEANT RYAN TEEL, acting under
color of state law; CORRECTIONS OFFICER MORGAN
THOMPSON, acting under color of state law; CORRECTIONS
OFFICER THOMAS MOORE, acting under color of state law                            DEFENDANTS

                          PLAINTIFF’S AMENDED DESIGNATION
                           OF EXPERT WITNESSES FOR TRIAL

                COMES NOW, Only Al-Khidhr, the Plaintiff in the above styled and numbered

cause, and files this his Plaintiff's Amended Designation of Expert Witnesses for Trial and

designates the following expert witnesses whom he anticipates may testify, live or by deposition

according to availability at the time of trial.

        1. Dr. Simone J. Simone, Clinical Psychologist

        Dr. Simone is a licensed psychologist in the state of Mississippi. Dr. Simone’s

        curriculum vitae is attached hereto as Exhibit” 1” and incorporated by reference. Dr.

        Simone is expected to testify concerning the effects following torture and/or mistreatment

        of a detained person in a controlled environment. At this time Dr. Simone’s report is

        unavailable. Plaintiff expects to have an evaluation by Dr. Simone on or about

        September 28, 2009, with a completed report on or about October 9, 2009. This

        designation will be supplemented and any and all reports to which Defendants are

        entitled will be provided.
    Case 1:07-cv-01223-LG-RHW              Document 165         Filed 09/17/09      Page 2 of 4




       Dr. Simone’s fee schedule is as follows: $1500 psychological evaluation (including

report); $200 per hour for court appearance; $1200 retainer as expert witness. The fees do not

include expenses.

       2. William Drechsel

       Mr. William Drechsel was a Sergeant and Director of the Field Training Officer Program

for the Harrison County Sheriffs Department. He was primarily assigned to work at the Harrison

County Adult Detention Center. His fields of expertise include: Field Training Officer, State

Law Enforcement Instructor, in- and out-processing of Inmates, booking procedures and

classification of inmates and detainees, C.E.R.T. (Correctional Emergency Response Team)

Procedures, use of force and jail/prison accreditation. William Drechsel’s curriculum vitae

(including a list of prior cases in which he has testified or given a deposition as an expert

witness) is attached as Exhibit “2” and incorporated by reference. He has provided a written

report containing his various opinions and said report is attached hereto and incorporated herein

by reference as Exhibit “3”. Plaintiff reserves the right to supplement this information as

needed.

       Mr. Drechsel’s fee schedule is as follows: $3000 expert witness fees, billed at the rate of

$150 per hour for court appearance, $125 per hour for out-of-court work. His travel is $50 per

hour plus expenses.

       3. Thomas H. Christiansen, M.Ed., CRC, CDMS, CLCP, LPC

       Mr. Thomas H. Christiansen is currently employed as a vocational consultant with

Carlisle and Associates in Mobile, Alabama. He is expected to give testimony regarding the

injuries suffered by the Plaintiff and the cost and anticipated effectiveness of rehabilitative
    Case 1:07-cv-01223-LG-RHW             Document 165         Filed 09/17/09      Page 3 of 4




treatment. He may also give testimony about future lost wages. A copy of his curriculum vitae

is attached as Exhibit “4” and incorporated by reference.

       4. Treating Physicians

       The Plaintiff may call any and/or all of his treating physicians to testify that the medical

treatment rendered was necessary and proper. They may also give an opinion as to prognosis for

recovery. No reports have been issued.



RESPECTFULLY SUBMITTED, this the 17th day of September, 2009.

                                              ONLY AL-KHIDHR
                                              Plaintiff

                                              BY: CHASE CHASE & ASSOCIATES, PLLC


                                              BY:     /s/Alvin Chase________
                                                      ALVIN CHASE (MSB #5968)

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    Case 1:07-cv-01223-LG-RHW             Document 165         Filed 09/17/09      Page 4 of 4




                                CERTIFICATE OF SERVICE


       I, the undersigned, do hereby certify that I have this day electronically filed a true and

correct copy of Plaintiff’s Amended Designation of Expert Witnesses for Trial with the Clerk of

Court using the ECF system which sent notification of such filing to the following:



Karen Jobe Young                                   Ian A. Brendel
Meadows Law Firm                                   Jim Davis, P.A.
P.O. Box 1076                                      P.O. Box 1521
Gulfport, MS 39502                                 Gulfport, MS 39502

Cyril T. Faneca                                    George D. Hembree, III
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Joe Crawford Gewin                                 P.O. Drawer 22949
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James L. Davis, III                                Robert H. Pedersen
P.O. Box 1839                                      Watkins & Eager
Gulfport, MS 39502-1839                            P.O. Box 650
                                                   Jackson, MS 39205-0650

       Dated, this the 17th day of September, 2009.



                                                      /s/Alvin Chase_____________________
                                                      ALVIN CHASE

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